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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                                 ECF Case
 LEXIDINE, LLC,
                                                     Civil Action No. _________________
        Plaintiff,
                                                         JURY TRIAL DEMANDED
 v.

 ONYX ENTERPRISES INT’L CORP. d/b/a
 CARID.COM,

        Defendant.




                         PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Lexidine, LLC (hereinafter, “Plaintiff” or “Lexidine”) files this Original

Complaint for Patent Infringement against Defendant Onyx Enterprises International Corporation

d/b/a CARiD.com (hereinafter, “Onyx” or “Defendant”) as follows:

                                NATURE OF THE ACTION

       1.      This is a patent infringement action to stop Defendant’s infringement of the

following patent (the “Patent-in-Suit”), which was duly and legally issued by the United States

Patent and Trademark Office (hereinafter, the “USPTO”), a copy of which is attached hereto as

Exhibit A.

               Patent No.                              Title
        A.     7,609,961      VEHICLE CAMERA


       2.      The Patent-in-Suit traces its priority date back to Application No. 11/401,405

(hereinafter, “the ’405 Application”), which was filed with the USPTO on April 11, 2006, and was

issued on October 27, 2009.
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        3.       Plaintiff is the owner of the Patent-in-Suit and possesses all right, title and interest

in the Patent-in-Suit, including the right to enforce the Patent-in-Suit, the right to license the

Patent-in-Suit, and the right to sue Defendant for infringement and recover past damages. Plaintiff

seeks injunctive relief and monetary damages.

                                                 PARTIES

        4.       Lexidine is a limited liability company organized and existing under the laws of the

State of Oklahoma and maintains its principal place of business at 5924 SW 12th St., Suite 7201,

Oklahoma City, Oklahoma 73128 (Oklahoma County).

        5.       According to public information, Onyx is a corporation duly organized and existing

under the laws of New Jersey since 2008.

        6.       According to public information, Onyx is registered with the New Jersey Secretary

of State as an “active” entity with the right to transact business in New Jersey under the name

“Onyx Enterprises International Corporation.”

        7.       According to public information, has its principal place of business at 1 Corporate

Drive, Cranbury, New Jersey 08512.

        8.       Upon information and belief, Defendant ships, distributes, makes, uses, offers for

sale, sells, and/or advertises OEM Fit 3rd Brake Light Cameras, with such cameras including, but

not limited to, model numbers 1584237628 (Exhibit B, attached), MPN4476119628 (Exhibit C,

attached), MPN4652722565 (Exhibit D, attached), MPN4476119649 (Exhibit E, attached),

MPN2709227803          (Exhibit      F,    attached),    MPN474094617           (Exhibit   G,   attached),

MPN1775852921 (Exhibit H, attached), MPN474094618 (Exhibit I, attached), MPN4487530264

(Exhibit J, attached), all products incorporating model number RVS-917, including, but not

limited to model numbers MPN4645747005 and MPN4476119652 (Exhibit K, attached), item



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numbers sp175221 (Exhibit L, attached), and sp185511 (Exhibit M, attached) (the “Brake Light

Cameras”).

                                    JURISDICTION AND VENUE

        9.       This action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et seq.,

including 35 U.S.C. §§ 271, 281, 283, 284, and 285. This Court has subject matter jurisdiction

over this case for patent infringement under 28 U.S.C. §§ 1331 and 1338(a).

        10.      The Court has personal jurisdiction over Defendant because: Defendant has

minimum contacts within the State of New Jersey and in the District of New Jersey; Defendant

has purposefully availed itself of the privileges of conducting business in the State of New Jersey

and in the District of New Jersey; Defendant has sought protection and benefit from the laws of

the State of New Jersey; Defendant regularly conducts business within the State of New Jersey

and within the District of New Jersey (as well as throughout the United States), and Plaintiff’s

causes of action arise directly from Defendant’s business contacts and other activities in the State

of New Jersey and in the District of New Jersey.

        11.      More specifically, Defendant, directly and/or through its intermediaries, ships,

distributes, makes, uses, imports, offers for sale, sells, and/or advertises its products and affiliated

services in the United States, the State of New Jersey, and the District of New Jersey. Defendant

has committed patent infringement in the State of New Jersey and in the District of New Jersey.

Defendant solicits customers in the State of New Jersey and in the District of New Jersey.

Defendant has many paying customers who are residents of the State of New Jersey and the District

of New Jersey and who use Defendant’s products in the State of New Jersey and in the District of

New Jersey.




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        12.         Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1400(b)

because Onyx is organized in this district, and, upon information and belief, has committed acts

of infringement in this district.

        13.         Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c) because Onyx is organized

in this district.

                                   BACKGROUND INFORMATION

        14.         Lexidine is 100% owned by the inventor of the Patent-in-Suit, Mr. Eric Park. Mr.

Park is a visionary inventor of consumer safety related products and has patented many of his

inventions. He has worked on many vehicle safety projects such as lane departure detection, heads

up displays (HUD), headrest displays, rearview navigation, in-car entertainment systems, rearview

camera and backup safety solutions, among others. Mr. Park has invested a great deal of time and

money to develop and legally protect Lexidine’s innovations, and he believes those who find value

incorporating these proprietary technologies into their products and services should obtain a proper

license.

        15.         The Patent-in-Suit was duly and legally issued by the USPTO after full and fair

examinations. Plaintiff is the owner of the Patent-in-Suit, and possesses all right, title and interest

in the Patent-in-Suit including the right to enforce the Patent-in-Suit, the right to license the Patent-

in-Suit, and the right to sue Defendant for infringement and recover past damages.

        16.         Defendant sells, advertises, offers for sale, uses, or otherwise provides the Brake

Light Cameras (collectively, the “Accused Products”). Representative images of the Accused

Products are attached as Exs. B to M (offers for sale of Brake Light Cameras from publicly-

available websites).

        17.         According to public information, Defendant owns, operates, advertises, and/or

controls the website www.carid.com, through which Defendant advertises, sells, offers to sell,

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provides and/or educates customers about the Accused Products.                    Evidence obtained from

Defendant’s website regarding these products is provided in Exs. B to M (representative Brake

Light Cameras).

        18.      Plaintiff has at all times complied with the marking provisions of 35 U.S.C. § 287

with respect to the Patents-in-Suit.

        19.      Plaintiff does not sell, offer to sell, make, or use any products itself, so it does not

have any obligation to mark any of its own products under 35 U.S.C. § 287.

        20.      Each of Lexidine’s licensees are contractually-obligated to comply with the

marking provisions of 35 U.S.C. § 287 with respect to the Patents-in-Suit.

        21.      On information and belief, prior assignees and licensees have also complied with

the marking provisions of 35 U.S.C. § 287 with respect to the Patents-in-Suit.

                 COUNT I: INFRINGEMENT OF U.S. PATENT NO. 7,609,961

        22.      Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

        23.      United States Patent No. 7,609,961 (hereinafter, the “’961 Patent”) was duly and

legally issued by the USPTO on October 27, 2009 to its inventor, Eric S. Park. The ‘961 Patent

was later assigned by Eric Park to Lexidine LLC, with filing number 512619107, on May 30, 2017.

Following that, the ‘961 Patent was assigned from Lexidine LLC, with filing number 512619107,

to Eric Park on May 18, 2018. Subsequent to that, the ‘961 Patent was assigned by Eric Park to

Lexidine LLC, with filing number 3512681526, on March 20, 2019.

        24.      The ’961 Patent was issued after full and fair examination of the ’405 Application

which was filed with the USPTO on April 11, 2006.

        25.      Defendant has infringed and continues to infringe the ’961 Patent either literally or

under the doctrine of equivalents through the manufacture and sale of infringing products. More

specifically, Defendant has infringed and continues to infringe one or more claims of the ’961

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Patent, including at least Claim 1 (the “’961 Patent Claims”) because it ships distributes, makes,

uses, imports, offers for sale, sells, and/or advertises the Accused Products.          Specifically,

Defendant’s Accused Products infringe the ’961 Patent Claims by providing to its customers a

vehicle camera that includes a vehicle lens for an external third brake light that has a translucent

red vehicle lens that allows light transmission (functioning to provide a red warning light for

stopping and slowing down). See, e.g., Exs. B to M. The Accused Products have an opening in

the vehicle lens (allowing the camera lens to protrude through the vehicle lens or be placed outside

the vehicle lens) with the camera lens within the vehicle lens and having a viewing axis through

the opening. Id. The Accused Products also include a base attached to the vehicle lens where the

viewing axis is at an angle of between about 15 to 75 degrees with respect a plane of that base, as

claimed in the ’961 Patent Claims. Id. Defendant’s Accused Products are available for sale on

publicly available websites. See Exs. B to M.

        26.      Defendant has intentionally induced and continues to induce infringement of the

’961 Patent Claims in this district and elsewhere in the United States, by its intentional acts which

have successfully, among other things, encouraged, instructed, enabled, and otherwise caused

Defendant’s customers to use the Accused Products in an infringing manner. Despite knowledge

of the ’961 Patent as early as the date of service of the Original Complaint in this action, Defendant

continues to encourage, instruct, enable, and otherwise cause its customers to use its systems and

methods, in a manner which infringes the ’961 Patent claims. Defendant’s source of revenue and

business focus is the provision of and sale of the Accused Products, among other products.

Defendant has specifically intended its customers to use its systems in such a way that infringes

the ’961 Patent by, at a minimum, providing and supporting the Accused Products and instructing

its customers on how to use them in an infringing manner, at least through information available



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on Defendant’s websites including information brochures, promotional material, and contact

information. See Exs. B to M. Defendant knew that its actions, including, but not limited to any

of the aforementioned systems and methods, would induce, have induced, and will continue to

induce infringement by its customers by continuing to sell, support, and instruct its customers on

using the Accused Products. Id.

        27.        Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        28.        Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

        29.        Defendant’s infringement of Plaintiff’s rights under the ’961 Patent will continue

to damage Plaintiff, causing irreparable harm to Plaintiff for which there is no adequate remedy at

law, unless enjoined by this Court.

                                            JURY DEMAND

        30.        Plaintiff demands a trial by jury on all issues.

                                        PRAYER FOR RELIEF

        31.        Plaintiff respectfully requests the following relief:

              A.      An adjudication that one or more claims of the Patent-in-Suit has been

                      infringed, either literally and/or under the doctrine of equivalents, by the

                      Defendant;

              B.      An adjudication that Defendant has induced infringement of one or more claims

                      of the Patent-in-Suit;



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            C.       An award of damages to be paid by Defendant adequate to compensate Plaintiff

                     for Defendant’s past infringement and any continuing or future infringement up

                     until the date such judgment is entered, including interest, costs, and

                     disbursements as justified under 35 U.S.C. § 284 and, if necessary to adequately

                     compensate Plaintiff for Defendant's infringement, an accounting of all

                     infringing sales including, but not limited to, those sales not presented at trial;

            D.       A grant of permanent injunction pursuant to 35 U.S.C. § 283, enjoining the

                     Defendant and its respective officers, agents, servants, employees, and

                     attorneys, and those persons in active concert or participation with them who

                     receive actual notice of the order by personal service or otherwise, from further

                     acts of infringement with respect to any one or more of the claims of the Patent-

                     in-Suit;

            E.       That this Court declare this to be an exceptional case and award Plaintiff its

                     reasonable attorneys’ fees and costs in accordance with 35 U.S.C. § 285; and

            F.       Any further relief that this Court deems just and proper.




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                                       LIST OF EXHIBITS

   A. U.S. Patent No. 7,609,961

   B. Offer for Sale of Onyx’s #1584237628 – Rear View Safety Third Brake Light Mount
      Rear View Camera Model

   C. Offer for Sale of Onyx’s MPN4476119628 – Rear View Safety RVS-921 Third Brake
      Light Mount Rear View Camera Model

   D. Offer for Sale of Onyx’s MPN4652722565 – Rostra Third Brake Light Camera Model

   E. Offer for Sale of Onyx’s MPN4476119649 – Rear View Safety RVS-913 Third Brake
      Light Mount Rear View Camera Model

   F. Offer for Sale of Onyx’s MPN2709227803 – Brandmotion FLTW-7620 Third Brake
      Light Mount Rear View Camera with Night Vision Model

   G. Offer for Sale of Onyx’s MPN474094617 – Brandmotion 9002-7607 Third Brake Light
      Mount Rear View Camera Model

   H. Offer for Sale of Onyx’s MPN1775852921 – BOYO VTS40 Third Brake Light Mount
      Rear View Camera Model

   I. Offer for Sale of Onyx’s MPN474094618 – Brandmotion 9002-7608 Third Brake Light
      Mount Rear View Camera with Night Vision Model

   J. Offer for Sale of Onyx’s MPN4487530264 – Brandmotion FLTW-7626 Third Brake
      Light Mount Rear View Camera Model

   K. Offer for Sale of Onyx’s Products Incorporating Model Number RVS-917, Including, but
      not Limited to Model Number MPN4476119652

   L. Offer for Sale of Onyx’s Item Number sp 175221 – Echomaster-Third Brake Light
      Camera Model

   M. Offer for Sale of Onyx’s Item Number sp 185511 – Rostra-Third Brake Light Camera
      Model




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